Filed 8/27/24 In re Bryan D. CA2/7
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                        SECOND APPELLATE DISTRICT

                                     DIVISION SEVEN


In re BRYAN D., a Person Coming                                B327818
Under the Juvenile Court Law.
                                                                (Los Angeles County
                                                                Super. Ct. No. 22CCJP03476B)

LOS ANGELES COUNTY
DEPARTMENT OF CHILDREN
AND FAMILY SERVICES,

                          Plaintiff,

         v.

DOUGLAS C.,

         Defendant and Respondent;

MARCO A.,

         Objector and Appellant;

BRYAN D.,

         Minor and Respondent.
      APPEAL from an order of the Superior Court of
Los Angeles County, Lisa A. Brackelmanns, Commissioner.
Affirmed.
      Katie Curtis, under appointment by the Court of Appeal,
for Appellant Marco A.
      Jill Smith, under appointment by the Court of Appeal, for
Respondent Douglas C.
      Karen J. Dodd, under appointment by the Court of Appeal,
for minor Respondent Bryan D.
                    ________________________

                       INTRODUCTION

       Minor Bryan D. (born 2013) is the child of mother Sara D.
and has two presumed fathers as determined by the juvenile
court: (1) his biological father, appellant Marco A., and
(2) respondent Douglas C., Sara’s partner since 2019 and the
biological father of Bryan’s half-sister Halsey (born 2020).1
Marco appeals from the court’s order at the jurisdiction and
disposition hearing finding Douglas to be Bryan’s second
presumed father, a finding which would make Douglas eligible
for visitation and reunification services. We conclude substantial
evidence supports the court’s findings and affirm.




1      The record refers to Marco A. as “Marcos A.,” but counsel
for Marco confirmed his correct name in its supplemental
briefing, and we use Marco in this opinion.




                                2
      FACTUAL AND PROCEDURAL BACKGROUND

A.     Family and Household Background
       Bryan lived with his biological parents Sara and Marco
from his birth in 2013 until they separated in either 2018 or
2019, residing first in California then in Nebraska.2
       Sara began a relationship with Douglas sometime between
2017 and 2019, and moved to California with Bryan. Bryan lived
with Sara and Douglas in California starting in 2019, along with
his older half-sister Alisson (Sara’s daughter, born 2008).3
Bryan’s half-sister Halsey was born to Sara and Douglas in 2020.
       After Sara and Marco separated, Marco remained living in
Nebraska but maintained weekly phone and video contact with
Bryan and provided intermittent financial support and clothing
to Sara for Bryan’s care.

B.   The Referral and Dependency Petition
     In July 2022, the Los Angeles County Department of Child
and Family Services (Department) received a referral alleging
Douglas was arrested after purportedly grabbing Sara around the


2     Sara reported she and Marco separated in “about
2018/2019” and they lived together until 2019. Marco reported he
lived with Sara “from about 2012 to 2019” or until “about 2018,”
and that they terminated their relationship “in 2018/2019.”
3     Sara reported to the Department that she and Douglas
began their relationship and cohabitation in 2019. Douglas
declared on his statement of parentage that Bryan and Alisson
began living with him in 2017; but otherwise reported 2019 as
the year his relationship and cohabitation with Sara and the
children began.




                               3
neck and pushing her against a wall while he was intoxicated.
Halsey was in the room. The superior court granted an
emergency protective order protecting Sara from Douglas, which
was subsequently terminated and the criminal case against
Douglas was dropped on August 5, 2022.
       On September 6, 2022, the Department filed a dependency
petition on behalf of Bryan (then nine years old), Halsey, and
Alisson alleging under Welfare and Institutions Code section 300,
subdivisions (a) and (b)(1), that Sara and Douglas had a history
of violent altercations in the presence of the children.4 The
petition also alleged under subdivision (b)(1) that Douglas had a
history of substance abuse and was a current abuser of alcohol.

C.     The Children Are Detained from Douglas and the Court
       Grants Him Visitation; Douglas Requests Presumed Father
       Status
       In September 2022, the juvenile court held its initial
hearing in this case and found Marco was Bryan’s presumed
father, over Douglas’s objection. The court detained all three
children from Douglas and released them to Sara, with nine
hours of weekly monitored visitation with all three children for
Douglas. Marco’s whereabouts were unknown at the time, and
the court ordered Bryan detained from Marco with monitored
visits, with discretion to the Department to liberalize once it was
in contact with Marco.
       Douglas requested he also be found to be Bryan and
Alisson’s presumed father, and the juvenile court set a motion


4     All undesignated statutory references are to the Welfare
and Institutions Code.




                                 4
hearing for the request. Douglas filed a JV-505 Statement
Regarding Parentage on September 20, 2022, requesting a
judgment of parentage. Douglas stated Bryan and Alisson had
lived with him since 2017, he had “helped raise Alisson and
Bryan since 2017 as my own children,” he told “[e]veryone” they
were his children, he had participated in “[a]ll age appropriate
activities,” and provided them “[a]ll necessities” and “support and
guidance in all categories.”
       In October 2022, Bryan and Alisson’s counsel joined in the
request that Douglas be found a presumed parent for both
children. Bryan filed a declaration stating that he wanted “both
my dad Marco and my dad Douglas to continue being my dads. If
I could not have visits with Marco or Douglas anymore, I would
be sad.” Bryan declared he sometimes called Douglas “‘pa’” and
called Douglas’s parents “‘abuelita’” or “‘grandma’” and “‘abuelo’”
or “‘grandpa,’” and that he considered Douglas his dad and would
want visits with him if Sara and Douglas broke up. He declared
he introduced Douglas as his “‘step-dad’” but Douglas introduced
himself to Bryan’s friends as “‘Bryan’s dad,’” and Bryan did not
correct him. Bryan declared that before this dependency case he
lived with Douglas and saw him every day, and they played
soccer, went to the park, and got ice cream together.
       At a hearing on October 27, 2022, Sara also joined in
Douglas’s request for presumed father status for Bryan and
Alisson. The juvenile court granted presumed father status to
Douglas as to Alisson. Bryan’s counsel argued Bryan considered
both Marco and Douglas his fathers, and it would be detrimental
to Bryan not to have Douglas as his presumed father because it
would set him apart from his siblings and longtime family unit.
Marco objected to Douglas having presumed father status for




                                 5
Bryan, and the juvenile court ordered Marco’s counsel to file a
written response and continued the hearing as to Bryan’s
parentage. The court released Bryan to Sara and Marco, with
primary residence with Sara.
       In November 2022, the Department reported that Marco
was in the process of moving from Nebraska to Los Angeles. The
Department reported that “[w]ith respect to the paternity issue,
[Marco] stated that although he appreciated [Douglas] helping to
provide for his son Bryan during the past 2-3 years,” Marco
opposed Douglas being named as a second presumed father. The
Department reported that Bryan stated he considered both Marco
and Douglas “to be like fathers” but he saw Marco as his “real
father” and Douglas as his “step-father.” The Department also
reported that Sara and Douglas both expressed their intentions
were to resume a relationship with each other if allowed to do so.
       In February 2023, the Department reported Marco was
living in Los Angeles and having weekly visits with Bryan. The
Department reported Douglas was not able to visit the children
three times weekly due to his unpredictable work schedule, which
involved travel to another county, but Douglas spoke to Bryan by
telephone or video chat almost daily for between 15 minutes and
one hour. Bryan enjoyed the visits and never declined or
demonstrated apprehension when speaking with Douglas.
During a visit in November 2022, the monitor reported Douglas
was “attentive and responsive towards the children,” engaged
with them and demonstrated affection, including hugging them
and bringing them food. At other visits in November 2022 and
January and February 2023, the Department noted “minimal
interaction” between the two older children and Douglas because




                                6
Douglas focused his attention on Halsey more than on Alisson
and Bryan.

D.     The Jurisdiction and Disposition Hearing and Douglas’s
       Presumed Father Determination
       On March 3, 2023, the court held the jurisdiction and
disposition hearing, as well as the hearing on Douglas’s request
for presumed father status as to Bryan. Sara, Douglas, Marco,
Alisson, and Bryan were present at the hearing.
       Bryan testified he had one mom and two dads. He called
Douglas “‘dad’” when they lived together, and they also did things
like go to the park and play soccer. Douglas made sure he was
safe and that the children would not go out alone at night. Bryan
testified he called Douglas’s parents “‘grandma’” and “‘grandpa,’”
he wanted both Douglas and Marco to continue being his dads,
and he wanted to keep having visits and living with Douglas,
even if Douglas and Sara broke up. He testified he would feel
“sad” if Douglas was not his dad anymore because Douglas “was
there for me” and would cheer him up when he got hurt. Bryan
testified he would be “mad” if his sisters got to see Douglas and
he did not, he had no fear of Douglas at all, and he was sad when
Douglas missed visits with him.
       Bryan’s counsel argued it would be detrimental for Bryan
to not have both Douglas and Marco as presumed fathers because
Bryan had lived with Douglas, was having visits with Douglas,
and Douglas and Bryan would lose all rights to have contact
through visitation or custody orders if the case closed without a
finding that Douglas was Bryan’s presumed parent. His counsel
also argued it would set Bryan apart from his two siblings, for
whom Douglas had presumed father status, with the concomitant




                                7
rights to visitation. Douglas’s counsel joined in Bryan’s counsel’s
arguments “in whole” and submitted on Douglas’s motion for a
statement of parentage.
       Marco’s counsel argued that while Douglas “does care for
Bryan and Bryan is bonded to him,” Douglas had missed visits
because of work and “[had] not been prioritizing the children”
while under court supervision. He also argued it was
inappropriate for a father who has exposed children to domestic
violence to be granted “special status.” His counsel further
argued Marco was “in the picture” and caring for Bryan, and
there was no indication Douglas would continue to take on
ongoing parental responsibilities for Bryan if Douglas remained
separated from Sara.
       The Department stated it had no position on whether both
Douglas and Marco should have presumed father status.
       The juvenile court concluded that Douglas had a “strong
relationship” with Bryan and satisfied the requirements of
Family Code section 7611, subdivision (d), for presumed parent
status. The court stated that, “I do find that the evidence before
the court is such that [Douglas] should be found presumed,” and
that it “fully adopt[ed] the arguments of [Bryan’s counsel]” in
granting Douglas’s motion to be deemed a presumed father.
       The juvenile court sustained the allegations in the
section 300 petition, and ordered Bryan be removed from Douglas
and remain released to Sara and Marco with family maintenance
services. The court ordered family enhancement services and
monitored visitation for Douglas a minimum of nine hours
weekly, with discretion to the Department to liberalize visits.
       Marco timely appealed, challenging the court’s finding
Douglas was Bryan’s presumed father. Counsel for Douglas and




                                 8
Bryan each filed respondent’s briefs, joining in each other’s
arguments. The Department filed a letter stating it took no
position on the matter and would not be filing a respondent’s
brief.

                          DISCUSSION

A.     Mootness
       On January 18, 2024, while this appeal was pending, the
juvenile court terminated jurisdiction as to Bryan, awarded joint
legal and physical custody of Bryan to Sara and Marco, with
primary residence with Sara, and ordered monitored visitation
for Douglas. The court reiterated its parentage findings and
judgment that Marco and Douglas were both presumed fathers of
Bryan. Marco timely appealed from these orders pursuant to
In re Rashad D. (2021) 63 Cal.App.5th 156. We granted Marco’s
motion for judicial notice of the January 18, 2024 orders in this
case and his appeal therefrom under Evidence Code sections 452,
subdivision (d), and 459, and invited the parties to submit letter
briefs addressing whether this appeal is moot.
       Bryan’s counsel argued the appeal is moot and should be
dismissed because there is no effective relief the court can
provide to Marco, and further argued we should not exercise
discretionary review to reach the merits. (See In re D.P. (2023)
14 Cal.5th 266, 276 [“The critical factor in considering whether a
dependency appeal is moot is whether the appellate court can
provide any effective relief if it finds reversible error.”]; In re
Rashad D., supra, 63 Cal.App.5th at p. 163 [“An order
terminating juvenile court jurisdiction generally renders an
appeal from an earlier order moot.”].)




                                 9
       Marco argued his appeal is not moot because he also
appealed from the January 18, 2024 exit order and termination of
jurisdiction, and his challenge is to a parentage determination
that continues to impact his parental rights.
       We conclude Marco’s protective appeal from the exit orders
and termination of jurisdiction in the underlying dependency case
means this case is not moot because we may provide effective
relief. Under section 362.4, when a juvenile court terminates
jurisdiction over a case, it may “issue an order ‘determining the
custody of, or visitation with, the child,’” which “may be enforced
or modified by the family court.” (In re Ryan K. (2012)
207 Cal.App.4th 591, 594, fn. 5.) Such orders are “sometimes
referred to as ‘family law’ orders or ‘exit’ orders.” (Ibid.) As this
court explained in In re Rashad D., supra, 63 Cal.App.5th 156,
“termination of dependency jurisdiction does not necessarily moot
an appeal from a jurisdiction finding that directly results in an
adverse juvenile custody order. But in most cases . . . for this
court to be able to provide effective relief, the parent must appeal
not only from the jurisdiction finding and disposition order but
also from the orders terminating jurisdiction and modifying the
parent’s prior custody status. Without the second appeal, we
cannot correct the continuing adverse consequences of the
allegedly erroneous jurisdiction finding.” (Id. at p. 159.) Marco
followed this procedure by appealing from the exit orders and
termination of jurisdiction.
       Marco also seeks relief that may have an impact on the
harm he complains of: the determination that Bryan has a
second presumed father. “For relief to be ‘effective,’ two
requirements must be met. First, the plaintiff must complain of
an ongoing harm. Second, the harm must be redressable or




                                 10
capable of being rectified by the outcome the plaintiff seeks.”
(In re D.P., supra, 14 Cal.5th at p. 276.) The high court explained
that “relief is effective when it ‘can have a practical, tangible
impact on the parties’ conduct or legal status,’” requiring “some
effect on the plaintiff’s legal status that is capable of being
redressed by a favorable court decision.” (Id. at p. 277.)
“[S]peculative future harm” is insufficient to avoid mootness. (Id.
at p. 278.) But “when a parent has demonstrated a specific legal
or practical consequence that will be averted upon reversal, the
case is not moot, and merits review is required.” (Id. at p. 283.)
Here, Marco has identified a determination that affects his legal
rights in an ongoing way: the juvenile court’s grant of presumed
parent status to Douglas, rendering Douglas eligible for visitation
and reunification services with Bryan. Reversal of the court’s
parentage determination would avert this consequence and
return Marco to the legal position of sole presumed father,
without the prospect of shared custody, decision-making, or
visitation with Douglas.5

B.     Governing Law and Standard of Review
       Dependency law recognizes “‘presumed,’” “‘biological,’” and
“‘alleged’” fathers. (In re Jovanni B. (2013) 221 Cal.App.4th
1482, 1488; In re Kobe A. (2007) 146 Cal.App.4th 1113, 1120.)
Presumed father status ranks highest, and only a presumed
father is entitled to reunification services, custody absent a
finding of detriment, and appointed counsel. (See In re J.H.

5     Because we conclude Marco’s appeal is not moot, we do not
address the factors for determining whether to exercise our
discretion to reach the merits of a moot appeal. (See In re D.P.,
supra, 14 Cal.5th at pp. 282-286.)




                                11
(2011) 198 Cal.App.4th 635, 644; In re T.R. (2005)
132 Cal.App.4th 1202, 1209; In re Jerry P. (2002) 95 Cal.App.4th
793, 801.) A presumed father is one who meets one or more of
the statutory criteria for presumed parent status specified in
Family Code section 7611. (See Martinez v. Vaziri (2016)
246 Cal.App.4th 373 (Martinez); In re J.H., at p. 644.) “A
biological or natural father is one whose biological paternity has
been established, but who has not achieved presumed father”
status. (In re Zacharia D. (1993) 6 Cal.4th 435, 449, fn. 15.) A
man who may be the child’s father, but who has not achieved
presumed father status and whose biological paternity has not
been established is an alleged father. (See ibid.)
       Here, the juvenile court found Douglas to be a presumed
father under Family Code section 7611, subdivision (d), under
which a person may qualify for presumed parent status if the
person “‘receives the child into [their] home and openly holds out
the child as [their] natural child.’” “[T]here is no requirement in
section 7611, subdivision (d) the presumed father be the
biological father” (In re Jerry P., supra, 95 Cal.App.4th at p. 816),
“[n]or is it necessary for the person seeking presumed parent
status to have entered into the familial relationship from the
time of conception or birth” (Jason P. v. Danielle S. (2014)
226 Cal.App.4th 167, 177). A person requesting presumed parent
status under Family Code section 7611, subdivision (d), must
have a “fully developed parental relationship” with the child
(R.M. v. T.A. (2015) 233 Cal.App.4th 760, 776 (R.M.)) and must
demonstrate “‘a full commitment to [parental] responsibilities—
emotional, financial, and otherwise’” (In re Jerry P., at pp. 801-
802.) “‘“[T]he premise behind the category of presumed [parent]
is that an individual . . . has demonstrated a commitment to the




                                 12
child and the child’s welfare.”’” (Martinez, supra,246 Cal.App.4th at pp. 384-385; see In re M.R. (2017)
7 Cal.App.5th 886, 898 [“[T]he core issues are the person’s
established relationship with and demonstrated commitment to
the child.”].)
       In most cases there is only one presumed father. (See In re
Donovan L. (2016) 244 Cal.App.4th 1075, 1086.) However, under
Family Code section 7612, subdivision (c), “In an appropriate
action, a court may find that more than two persons with a claim
to parentage under this division are parents if the court finds
that recognizing only two parents would be detrimental to the
child.” Thus, the Legislature has established a mechanism for
additional parents to be recognized in those “‘rare cases’ in which
a child ‘truly has more than two parents’ who are parents ‘in
every way.’” (In re Donovan L., at p.1090; accord, Martinez,
supra, 246 Cal.App.4th at p. 387; see Stats. 2013, ch. 564, § 1(a),
(d).)
       “In determining detriment to the child, the court shall
consider all relevant factors, including, but not limited to, the
harm of removing the child from a stable placement with a
parent who has fulfilled the child’s physical needs and the child’s
psychological needs for care and affection, and who has assumed
that role for a substantial period of time. A finding of detriment
to the child does not require a finding of unfitness of any of the
parents or persons with a claim to parentage.” (Fam. Code,
§ 7612, subd. (c).) An “appropriate action” for purposes of Family
Code section 7612, subdivision (c), includes “one in which a court
finds an existing, rather than potential, relationship between a
child and a putative third parent, such that ‘recognizing only two
parents would be detrimental to the child.’” (In re Donovan L.,




                                13
supra, 244 Cal.App.4th at pp. 1089-1090; see In re L.L. (2017)
13 Cal.App.5th 1302, 1315-1316 [court erred in recognizing
biological father as a third parent where the child did not “have a
strong relationship with” or any “existing relationship” with the
biological father].) “It is this familial relationship with a parent
who has fulfilled the child’s needs for care and affection for a
considerable amount of time, that modifies the phrase ‘stable
placement’ and that provides the context for the trial court’s
evaluation of detriment under section 7612, subdivision (c).”
(Martinez, supra, 246 Cal.App.4th at p. 385.)
       “[W]e review factual findings regarding parentage under
either section 7611 or section 7612 for substantial evidence.”
(In re M.Z. (2016) 5 Cal.App.5th 53, 64, 66.) “‘We view the
evidence in the light most favorable to the ruling, giving it the
benefit of every reasonable inference and resolving all conflicts in
support of the judgment. [Citation.] We defer to the trial court’s
credibility resolutions and do not reweigh the evidence.
[Citation.] If there is substantial evidence to support the ruling,
it will not be disturbed on appeal even if the record can also
support a different ruling.’” (Ibid.; accord, R.M., supra,233 Cal.App.4th at p. 780.)

C.    Substantial Evidence Supports the Juvenile Court’s
      Findings that Douglas Is a Presumed Father and That It
      Would be Detrimental to Bryan Not To Recognize Both
      Fathers
      On appeal, Marco concedes that Douglas’s “‘demonstrated
commitment’ to [Bryan] likely satisfied the requirements of
Family Code section 7611, subdivision (d).” We agree. Douglas
lived with Bryan for a period of three or more years, cared for




                                 14
Bryan, referred to himself as “Bryan’s dad” to others, and
provided Bryan with emotional and financial support and
supervision. This constitutes substantial evidence that Douglas
“receive[d] [Bryan] into [his] home and openly holds out [Bryan]
as [his] natural child” (Fam. Code, § 7611, subd. (d)), and that
Douglas demonstrated “a full commitment to [parental]
responsibilities—emotional, financial, and otherwise.” (In re
Jerry P., supra, 95 Cal.App.4th at pp. 801-802.)
       Marco argues that Douglas nevertheless failed to satisfy
Family Code section 7612, subdivision (c), i.e., that Douglas failed
to demonstrate it would be detrimental to Bryan if Douglas were
not recognized as Bryan’s second presumed father. Marco
contends that although “the record showed Bryan did have some
emotional attachment with Douglas and generally liked living
with him as his son or stepson,” Douglas’s alleged domestic
violence against Sara, his lack of stable housing at the time of the
hearing, and his “minimal” interaction with Bryan during visits
prevent Douglas from establishing he provided Bryan with a
“stable placement” with “a parent who has fulfilled the child’s
physical needs and the child’s psychological needs for care and
affection, and who has assumed that role for a substantial period
of time.” (Fam. Code, § 7612, subd. (c).)
       We conclude there was substantial evidence before the
juvenile court that Bryan and Douglas had an existing parent-
child relationship and that not recognizing Douglas as Bryan’s
presumed father would be detrimental to Bryan. As noted, there
was evidence before the juvenile court that Douglas took on the
role of Bryan’s father since at least 2019 and as early as 2017,
resulting in a stable, “fully developed parental relationship”
(R.M., supra, 233 Cal.App.4th at p. 776) for “a substantial period




                                15
of time” (Fam. Code, § 7612, subd. (c)). Bryan’s testimony also
established that he considered Douglas his dad, that Douglas had
fulfilled Bryan’s physical needs and his psychological needs for
care and affection, and that Bryan would be “sad” and “mad” if he
was not able to maintain a parent-child relationship with
Douglas. The evidence thus demonstrates “‘an existing familial
relationship with [Bryan],’ a bond the likes of which ‘“should not
be lightly dissolved.’”” (Martinez, supra, 246 Cal.App.4th at
p. 385; In re D.M. (2012) 210 Cal.App.4th 541, 554.) The
Legislature intended the provision for more than one presumed
parent “to prevent the disruption of established emotional bonds
between a child and his or her caretakers.” (In re Alexander P.
(2016) 4 Cal.App.5th 475, 497.) Here, Bryan was clear that he
had two fathers, and that he would be upset if the juvenile court
did not find Douglas his presumed father.
       That Douglas was observed paying more attention to infant
Halsey during visits than to Bryan and Alisson does not establish
a failure to meet Bryan’s physical and psychological needs, given
other evidence that Douglas spoke with Bryan almost daily and
that Bryan was positive about their contact. Further, it is
generally the case that domestic violence does not disqualify an
individual from obtaining presumed parent status, but rather it
is a factor the juvenile court may consider in weighing a request
for presumed parent status. (See, e.g., In re Alexander P., supra,
4 Cal.App.5th at p. 496 [noting step-father’s domestic violence
was not directed toward the minor, so the court was unwilling to
find it disqualifying].) The juvenile court considered Marco’s
arguments that Douglas should not get “special status” as a
presumed parent due to domestic violence, and that Douglas had
taken on a parental role for only “the most recent three years” of




                               16
Bryan’s life, and nonetheless concluded the evidence supported a
finding of detriment, which we do not reweigh on appeal.

                        DISPOSITION

     The juvenile court’s findings and parentage order finding
Douglas to be a second presumed father of Bryan are affirmed.




                                     MARTINEZ, P. J.

We concur:




     SEGAL, J.




     STONE, J.




                               17
